      Case 3:18-cv-00721-BR           Document 42       Filed 09/19/18      Page 1 of 17




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 PORTLAND DIVISION

QUEST SOFTWARE INC., a Delaware
corporation,                                         Case No. 3:18-CV-00721-BR

          Plaintiff I Counterclaim-Defendant,        STIPULATED PROTECTIVE
                                                     ORDER GOVERNING DISCOVERY
                      v.

NIKE, INC., an Oregon corporation

                Defendant I Counterclaimant.

                                           STIPULATION


       IT IS HEREBY STIPULATED by and among Plaintiff Quest Software Inc. ("Quest")

and Defendant Nike, Inc. ("Nike") (each a "party" and collectively "the parties"), by and through

their attorneys for record, that in the above-captioned case, each party intends to request the

production of documents or information that the other party expects will be or contain

confidential and/or proprietary information, and that are subject to protection under Federal Rule

of Civil Procedure 26(c).

       Specifically, Quest's complaint alleges that Nike has breached a software license and

service agreement with Quest, has infringed copyrights owned by Quest, and has violated the

Digital Millennium Copyright Act.        Nike has counterclaimed against Quest, seeking a

declaratory judgment as to the meaning of the agreement, alleging breach by Quest of the same

agreement and breach of the covenant of good faith and fair dealing. The parties anticipate that

due to the nature of the claims and defenses in the case, confidential and/or proprietary

information may be sought in production or used in filings or at trial, including but not limited

to: trade secrets; research, technical, commercial or financial information that the possessing

party considers to be confidential; information involving software codes and computer access

control systems; information concerning the operation of secure enterprise information


STIPULATED PROTECTIVE ORDER -        1
       Case 3:18-cv-00721-BR          Document 42        Filed 09/19/18      Page 2 of 17




technology systems; and personal and private information of individuals who are not party to the

litigation.

        The parties agree that good cause exists to protect the confidential and proprietary nature

of such information contained in documents, communications, interrogatory responses, responses

to requests for admission, deposition testimony, motion filings, and trial evidence, including

possible loss of value, loss of legally protected status, loss of competitive advantage, and

increased vulnerability to hacking and computer abuse were such information publicly disclosed.

The parties agree that the entry of this Stipulated Protective Order ("Protective Order") is

warranted to protect against disclosure of such documents and information.

        The Court having been advised of such facts and, after due deliberation, enters the

following Protective Order.


                                    PROTECTIVE ORDER

        IT IS HEREBY ORDERED that the following Protective Order be entered in this matter

and that the Parties shall follow the procedures set forth below with respect to information,

documents, or things produced in this litigation:

        To protect the confidentiality of proprietary and trade secret information contained in

documents and other information disclosed in this litigation, the Court orders as follows:

         1.    This Protective Order shall be applicable to and govern all depositions,

documents, information or things produced in response to requests for production of documents,

answers to interrogatories, responses to requests for admissions and all other discovery taken

pursuant to the Federal Rules of Civil Procedure, papers and exhibits filed in connection with

motions, as well as testimony adduced at trial or other hearings, depositions, matters in evidence

and other information that the disclosing party designates as "CONFIDENTIAL" or

"ATTORNEYS' EYES ONLY" hereafter furnished, directly or indirectly, by or on behalf of any

party or any non-party witness in connection with this action. As used herein, "disclosing party"




STIPULATED PROTECTIVE ORDER- 2
       Case 3:18-cv-00721-BR            Document 42        Filed 09/19/18         Page 3 of 17




shall refer to the parties to this Protective Order and to non-parties who give testimony or

produce documents or other information in this litigation. Any reference to a "motion" herein

shall include any informal procedure used by this Court to resolve discovery disputes without the

need for a motion.

       2.      The following information may be designated as CONFIDENTIAL: trade secrets;

research, design, technical, commercial or financial information that is not publicly known;

information involving software codes and computer access control systems; information

concerning secure enterprise information technology systems; and personal and private

info1mation of individuals who are not party to the case contained in any document, discovery

response, or testimony.

       3.      The following information may be designated as ATTORNEYS' EYES ONLY:

information that would fall within the scope of Paragraph 2 but that the disclosing party in good

faith reasonably believes to comprise particularly sensitive confidential material that warrants

non-disclosure to the receiving party's employees and agents, other than inside counsel to the

receiving party, persons employed by the receiving party's inside legal department, and experts

retained on behalf of the receiving party, who have agreed in writing to comply with the terms of

this Protective Order. Information may only be designated ATTORNEYS' EYES ONLY if the

disclosing party believes in good faith that designation as CONFIDENTIAL will not provide

adequate protection.

        4.      A disclosing party may also designate materials as CONFIDENTIAL or

ATTORNEYS' EYES ONLY, as the case may be, if they contain information that the disclosing

party, in good faith, believes is confidential or proprietary to a third party.

        5.      Disclosing parties shall designate CONFIDENTIAL or ATTORNEYS' EYES

ONLY information as follows:

               (a).   In the case of discovery responses and the information contained therein,
        designation shall be made by the disclosing party placing the following legend on every
        page of any such document prior to production: CONFIDENTIAL or ATTORNEYS'
        EYES ONLY. In the event that a disclosing party inadvertently fails to stamp or


STIPULATED PROTECTIVE ORDER- 3
      Case 3:18-cv-00721-BR           Document 42         Filed 09/19/18      Page 4 of 17




       otherwise designate a document or other information as CONFIDENTIAL or
       ATTORNEYS' EYES ONLY at the time of its production, that party shall have ten (10)
       business days after such production to so stamp or otherwise designate the document or
       other information.

                (b).    In the case of depositions, designation of testimony or exhibits as
       CONFIDENTIAL or ATTORNEYS' EYES ONLY information shall be made either by a
       statement to such effect by counsel for the disclosing party on the record in the course of
       the deposition, or a written designation made by the disclosing party within ten (10) days
       after the court reporter provides a transcript to counsel for the parties. During the ten (10)
       day period, the transcript shall be treated as if it were designated ATTORNEYS' EYES
       ONLY, and exhibits shall maintain the designation given at the time of the deposition. If
       no designation is made during the deposition or within ten (10) business days after receipt
       of the transcript, the transcript shall be considered not to contain any CONFIDENTIAL or
       ATTORNEYS' EYES ONLY information. If a party wishes to designate portions of a
       deposition transcript under this Protective Order after a deposition, that party's counsel
       shall make such designation in writing within ten (10) business days after counsel's
       receipt of the transcript, listing the numbers of the pages and lines of the transcript, and/or
       the marked exhibits, containing CONFIDENTIAL or ATTORNEYS' EYES ONLY
       information. The designation shall be provided by e-mail to counsel for all parties, and, if
       the information so designated was provided by a third party, to that party and its counsel.
       The designating reporter shall be instructed to prepare separate transcripts of material
       designated CONFIDENTIAL, designated ATTORNEYS' EYES ONLY, and not
       designated, and such transcripts will be provided to the witness for review and signature.

                (c).   Transcripts of deposition testimony will not be filed with the Court unless
       it is necessary to do so for purposes of hearings, trial, motions for summary judgment, or
       other matters. If a deposition transcript is filed and if it contains CONFIDENTIAL or
       ATTORNEYS' EYES ONLY information, the transcript shall bear the appropriate
       legend on the caption page and shall be filed under seal in accordance with governing
       rules.

              (d).     Any CONFIDENTIAL or ATTORNEYS' EYES ONLY information
       produced in a non-paper media (e.g., videotape, audiotape, computer disk, etc.) may be
       designated as such by labeling the outside of such non-paper media as CONFIDENTIAL
       or ATTORNEYS' EYES ONLY. In the event such non-paper media is transmitted via
       email the disclosing party may designate the information produced as CONFIDENTIAL
       or ATTORNEYS' EYES ONLY by so identifying such media in the email. In the event
       a receiving party generates any "hard copy," transcription, or printout from any such
       designated non-paper media, such party must arrange to stamp each page
       CONFIDENTIAL or ATTORNEYS' EYES ONLY and the hard copy, transcription or
       printout shall be treated as it is designated.

       6.      If portions of documents or other materials deemed CONFIDENTIAL or any

papers containing or making reference to such materials are filed with the Court, they shall be

filed under seal and marked as follows or in substantially similar form:



STIPULATED PROTECTIVE ORDER- 4
      Case 3:18-cv-00721-BR           Document 42        Filed 09/19/18      Page 5 of 17




       CONFIDENTIAL

       FILED UNDER SEAL: THIS DOCUMENT SHALL NOT BE SHOWN TO ANY
       PERSON OTHER THAN THOSE PERSONS DESIGNATED IN PARAGRAPH 8 OF
       THE STIPULATED PROTECTIVE ORDER

       If portions of documents or other materials deemed ATTORNEYS' EYES ONLY or any

papers containing or making reference to such materials are filed with the Court, they shall be

filed under seal and marked as follows or in substantially similar form:

       ATTORNEYS' EYES ONLY

       FILED UNDER SEAL: THIS DOCUMENT SHALL NOT BE SHOWN TO ANY
       PERSON OTHER THAN THOSE PERSONS DESIGNATED IN PARAGRAPH 9 OF
       THE STIPULATED PROTECTIVE ORDER

       7.      All CONFIDENTIAL and ATTORNEYS' EYES ONLY information shall be

used solely for the purposes of this litigation, including discovery, motions, trial and hearing

preparation, and during trial or hearings and not for any other purpose.

       8.      CONFIDENTIAL information shall not be disclosed, except by the prior written

consent of the disclosing party or non-party, or pursuant to an order of this Court, to any person

other than the following:

               (a).   The outside attorneys of record working on this action on behalf of any
       party, and any paralegal assistants, stenographic and clerical employees working under
       the direct supervision of such counsel of record;

               (b).  Officers of the Court and supporting personnel or officers of any appellate
       court to which an appeal may be taken in this litigation or in which review is sought,
       including necessary stenographic and clerical personnel (e.g. court reporters);

                (c). Other qualified reporters taking and videographers recording testimony
        involving such information and necessary stenographic and clerical personnel thereof;

                (d).   Any person not otherwise included in these categories who is an author or
        recipient of that CONFIDENTIAL material and is being deposed or prepared from
        deposition, except that such person may only be shown copies of CONFIDENTIAL
        information during his/her testimony, and may not retain a copy of such
        CONFIDENTIAL information;

               (e).    An Independent Expert who is expressly retained or sought to be retained
        by any outside attorney described in paragraph 9(a);


STIPULATED PROTECTIVE ORDER- 5
       Case 3:18-cv-00721-BR           Document 42         Filed 09/19/18      Page 6 of 17




                (f).   The parties and their employees who are required to work directly on this
       litigation, with disclosures only to the extent necessary to perform such work.
               (g).     Persons (including employees of vendors) who are engaged by the parties
       for outside litigation support relating to this action, including for copy services, electronic
       discovery services, microfilming or database services, contract attorney services, trial
       support, jury consultant services, mock juries, graphics, sample analysis or testing, and/or
       translation, but only to the extent reasonably necessary to support outside counsel or
       otherwise further this litigation.

       9.      ATTORNEYS' EYES ONLY information shall not be disclosed, except by the

prior written consent of the disclosing party or non-party, or pursuant to an order of this Court, to

any person other than the following:

               (a).   The outside attorneys of record working on this action on behalf of any
       party, and any paralegal assistants, stenographic and clerical employees working under
       the direct supervision of such counsel of record.

               (b).  Officers of the Court and supporting personnel or officers of any appellate
       court to which any appeal may be taken in this litigation or in which review is sought,
       including necessary stenographic and clerical personnel (e.g. court reporters).

              (c).   Other qualified reporters taking and videographers recording testimony
       involving such information and necessary stenographic and clerical personnel thereof;

              (d).    Any person who is an author or recipient of that ATTORNEYS' EYES
       ONLY material. Any employee of the party producing such materials may be shown
       copies of such material during his or her testimony, but may not retain a copy of such
       information following the deposition;

               (e).    Any person who is expressly retained or sought to be retained by any
       outside attorney described in paragraph 9(a) to provide expert assistance in preparation of
       this action for trial, who is not employed by, affiliated with (whether as a consultant or
       otherwise), controlled by, agents of, or materially interested in any party or any
       competitor of any party, with disclosure only to the extent necessary to perform such
       work (an "Independent Expert").
                (f).     Persons (including employees of vendors) who are engaged by the parties
        for outside litigation support relating to this action, including for copy services, electronic
        discovery services, microfilming or database services, contract attorney services, trial
        support, jury consultant services, mock juries, graphics, sample analysis or testing, and/or
        translation, but only to the extent reasonably necessary to support outside counsel or
        otherwise further this litigation.
               (g).    Attorneys who are employed by the parties solely as inside legal counsel
        and employees of the parties who work exclusively for the inside legal departments of
        those parties.



STIPULATED PROTECTIVE ORDER- 6
      Case 3:18-cv-00721-BR           Document 42         Filed 09/19/18      Page 7 of 17




       10.     Nothing herein shall restrict the use of CONFIDENTIAL or ATTORNEYS'

EYES ONLY information of the disclosing party by the disclosing party.

       11.     Prior to disclosure of any CONFIDENTIAL information to any persons in

paragraphs 8(d), 8(e), 8(f), and 8(g), and prior to disclosure of any ATTORNEYS' EYES ONLY

information to any persons in paragraphs 9(d), 9(e), 9(f), and 9(g), the procedure set forth in

paragraph 12 and, if applicable, paragraph 13 shall be followed.

       12.     Prior to the disclosure of CONFIDENTIAL or ATTORNEYS' EYES ONLY

information to persons in paragraphs 8(d), 8( e), 8(f), 8(g), 9(d), 9(e), 9(f), and 9(g), the outside

counsel of record in this litigation for the receiving party shall advise each person that the

information is CONFIDENTIAL or ATTORNEYS' EYES ONLY, can only be discussed with

persons authorized by this Protective Order to view the material and can only be used for

purposes of this litigation. Such advice need only be made once to each such person, provided

that it is made clear that the advice applies to all future similar disclosures. Outside counsel for

the receiving party shall obtain and retain, but need not disclose to the disclosing party, a copy of

a signed Confidentiality Undertaking of each person to whom disclosure is made under

paragraphs 8(d), 8(e), 8(f), 8(g), 9(f), and 9(g). Outside counsel for the receiving party shall

retain and disclose to the other party a copy of a signed Confidentiality Undertaking of each

person to whom disclosure is made under paragraph 8(e) and 9(e).                The Confidentiality

Undertaking, which shall be in the form as illustrated in Appendix A hereto, shall acknowledge

that that the person has read and understands this Protective Order, agrees to comply with this

Protective Order, agrees that the CONFIDENTIAL or ATTORNEYS' EYES ONLY information

will be used only to assist in this litigation, and agrees not to disclose or discuss

CONFIDENTIAL or ATTORNEYS' EYES ONLY information with any person other than those

authorized by this Order to view the material and to use it only for the purposes of this litigation.

        13.    At least seven (7) calendar days before disclosure of information designated as

CONFIDENTIAL or ATTORNEYS' EYES ONLY to an Independent Expert under Paragraph

8(e) or 9(e), the receiving party must provide to the disclosing party the Independent Expert's (1)



STIPULATED PROTECTIVE ORDER- 7
      Case 3:18-cv-00721-BR            Document 42        Filed 09/19/18      Page 8 of 17




current curriculum vitae or resume, (2) current employment, (3) list of any prior work for any

party (including any parents or subsidiaries) or any past or present competitor of any party. If

the disclosing party does not object to the disclosure in writing within seven (7) calendar days of

receiving the foregoing information, then the disclosing party shall be deemed to have consented

to the disclosure. If the disclosing party does object to the disclosure as provided above, the

disclosure shall not be made to the Independent Expert unless the objection is either resolved

between the parties or rejected by the Court following a motion for protective order, as the case

may be. Any objection to disclosure of information to an Independent Expert must set forth the

specific factual basis for the objection. If an objection is not resolved by way of informal

conferences or correspondence, the disclosing party objecting to disclosure of information

designated as CONFIDENTIAL or ATTORNEYS' EYES ONLY to an Independent Expert may

file a motion for a protective order within seven (7) calendar days after conclusion of the

informal conferences or correspondence not resolving the objection, and shall bear the burden of

showing why disclosure should not be permitted. If such a motion is not timely filed, the

objection on those grounds shall be deemed waived. However, a disclosing party may promptly

object in writing to an Independent Expert's continued access to or use of CONFIDENTIAL or

ATTORNEYS' EYES ONLY information where facts subsequently obtained by the disclosing

party provide the basis for a good faith objection.

        14.    A party shall not be obligated to challenge the propriety of another party or a

nonparty's CONFIDENTIAL or ATTORNEYS' EYES ONLY designation at the time it is made,

and failure to do so shall not preclude a subsequent challenge thereto. In the event that any party

to this litigation disagrees at any stage of these proceedings with such designation, such party

shall provide to the disclosing party written notice of its disagreement with the designation. The

parties shall first try to dispose of such dispute in good faith on an informal basis. If the dispute

cannot be resolved, the party challenging the designation may request appropriate relief from the

Court, but in any event, such relief from the Court shall not be requested before five (5) business

days after the disclosing party is served with said written notice.



STIPULATED PROTECTIVE ORDER- 8
      Case 3:18-cv-00721-BR            Document 42        Filed 09/19/18      Page 9 of 17




       15.     Failure of counsel to designate or mark any document, thing, or testimony as

CONFIDENTIAL or ATTORNEYS' EYES ONLY information as provided above shall not

preclude the disclosing party from thereafter in good faith making such designation and

requesting the receiving party to so mark and treat such documents and things so designated even

after the expiration of the ten (10) business days designation period described in paragraph 5(a).

In such case, the receiving party shall make reasonable efforts to assure that the materials are

treated in accordance with the provisions of this Order but shall not incur liability for disclosures

or uses of such materials made prior to notice of such new designations.

       16.     If CONFIDENTIAL or ATTORNEYS' EYES ONLY information is disclosed to

any person other than in the manner authorized by this Protective Order, the person responsible

for the disclosure shall promptly bring all pertinent facts relating to such disclosure to the

attention of counsel of record for all parties, without prejudice to other rights and remedies of

any party, and shall make reasonable efforts to prevent further disclosure by it or by the person

who was the recipient of such information.

        17.     Whenever information designated as CONFIDENTIAL or ATTORNEYS' EYES

ONLY pursuant to this Protective Order is to be discussed by a party or otherwise to be disclosed

in a deposition or pre-trial proceeding, the disclosing party may exclude from the room any

person, other than persons designated in paragraphs 8 or 9 as entitled to receive such

information, as appropriate, for that portion of the deposition or pretrial proceeding. Before

discussing or otherwise disclosing any CONFIDENTIAL or ATTORNEYS' EYES ONLY

information at any hearing or at trial, any party other than the disclosing party for that

information must give advance notice to the disclosing party. Upon request by the disclosing

party, and subject to applicable legal standards relating to the right of access to in-court

proceedings, the Court may exclude such persons from all or part of a hearing or trial. Nothing in

this Protective Order is intended to prevent a disclosing party or its employees from having

access to or being examined regarding the disclosing party's own documents and information.

        18.    Pursuant to Fed. R. Civ. P. 26(b)(5)(B) and Fed. R. Evid. 502(d), the unintended



STIPULATED PROTECTIVE ORDER- 9
      Case 3:18-cv-00721-BR          Document 42         Filed 09/19/18      Page 10 of 17




disclosure by one party (through inadvertence, mistake, accident, or other error) of the substance

of any document or communication entitled to protection under the attorney-client privilege or

attorney work-product doctrine shall not constitute a waiver of such protection as to that

document or communication or the subject matter of that, or related, documents or

communications.     If during the discovery process in this case either party unintentionally

discloses a document or communication that the party later determines was entitled to protection

as being privileged or attorney work-product, the disclosing party may, not more than ten (10)

calendar days after discovering the unintended disclosure, provide notice to the receiving party

requesting the return or destruction of the document or communication and all copies thereof.

Such a notice must be made in writing, must identify the document or communication with

sufficient particularity to permit it to be located by the receiving party, and must identify the

basis for the privilege or attorney work-product claimed.

       19.     If the receiving party agrees that the document or communication identified by the

disclosing party is privileged or attorney work-product (without regard to its production), (a) in

the case of documents, the document and all copies in possession of the receiving party shall

promptly be returned to the disclosing party, permanently deleted or destroyed, at the election of

the disclosing party, and no reference to such document shall be made in connection with the

proof of the facts in this dispute, and (b) in the case of communications, all recordings and notes

of the communication in possession of the receiving party shall be permanently deleted or

destroyed.

       20.     If the party that receives a notice pursuant to paragraph 18 objects to the claim

that the document or communication was protected by privilege or is attorney work-product, then

it shall so notify the disclosing party in writing, within five (5) calendar days ofreceiving written

notice of the disclosing party's asserted privilege or work product protection. In such event, the

disclosing party may move the Court to resolve the status of the document or communication,

within ten (10) days of receiving the objection notice. During the pendency of that motion, the

receiving party and any person to whom the receiving party has disclosed the document or



STIPULATED PROTECTIVE ORDER- 10
      Case 3:18-cv-00721-BR            Document 42       Filed 09/19/18      Page 11 of 17




communication shall not use it or disclose it to any other person, other than in connection with

the disclosing party's motion. Any filing with the Court shall be made under seal or under such

procedures as the Court may direct that will protect the confidentiality of the document or

communication at issue. If the Court finds that the document or communication is entitled to

protection (without regard to the fact of production), then the receiving party shall promptly

return the document or communication and all known copies or notes or records thereof to the

disclosing party and destroy or permanently delete all electronic copies (except that counsel of

record for the receiving party may retain one copy of the document or communication solely for

purposes of seeking appellate review of the Court's ruling on the question of privilege) and shall

make no reference to the document in connection with the proof of the facts or pursuit of

judgment or settlement in this case.

       21.     In the event that a party is required by a valid discovery request in this litigation

to produce information in its possession, custody, or control that is subject to a confidentiality

obligation to or a confidentiality agreement with a non-party, then the party from whom

discovery is sought shall:

              (a).    Promptly notify in writing the requesting party and the non-party that
       some or all of the information requested is subject to a confidentiality agreement with a
       non-party;

                (b).    Promptly provide the non-party with a copy of the Protective Order in this
       litigation, the relevant discovery request(s), and a reasonably specific description of the
       information requested; and

               (c).    Make the information requested available for inspection by the non-party.

If the non-party fails to object or seek a protective order from this Court within five (5) business

days of receiving the notice and accompanying information, the receiving party shall produce the

non-party's information responsive to the discovery request, subject to other appropriate, good

faith objections. If the non-party timely seeks a protective order, the receiving party shall not

produce any information in its possession, custody, or control that is subject to the confidentiality

agreement or obligation with the non-party before a determination by the Court. The non-party



STIPULATED PROTECTIVE ORDER- 11
      Case 3:18-cv-00721-BR           Document 42        Filed 09/19/18    Page 12 of 17




shall bear the burden or persuasion and expense of seeking protection in this Court of its

protected material.

        22.    Upon the request of the disclosing party, within 60 days after the entry of a final

judgment or dismissal no longer subject to appeal on the merits of this case, the receiving party

and any person who received confidential information as authorized by this Protective Order

shall return to the disclosing party or destroy all information and documents of the disclosing

party subject to this Protective Order, including all copies. If a disclosing party requires the

return of original materials, it shall pay the reasonable costs of assembly and return.

Notwithstanding anything else in this Protective Order, outside counsel of record for a party may

retain one archival copy of all documents and information subject to this Protective Order and a

reasonable number of copies of court filings which contain such documents and information.

        23.    Nothing in this Protective Order shall restrict the disclosure or use of any

information or documents lawfully obtained by the receiving party (a) through means or sources

outside of this litigation, (b) for this litigation from a person not asserting or under a duty to

assert confidentiality, or (c) from publicly accessible sources (including information disclosed in

open court or actually obtained by reverse engineering or analysis). Should a dispute arise as to

any specific information or document, the burden shall be on the party claiming that such

information or document was lawfully obtained through means and sources outside of this

litigation.

        24.    Nothing herein shall prevent any party from moving the court for modification of

this Protective Order for good cause.

        25.    Except as specifically provided herein, the terms, conditions, and limitations of

this Protective Order shall survive the termination of this action.

        26.    Nothing herein shall be deemed to constitute a waiver of any objection that a

disclosing party may have to any discovery request or deposition question. Nothing herein shall

prevent any party from objecting to production of documents or objecting to other discovery

requests on any available grounds, or from seeking alternative protective orders from the Court.



STIPULATED PROTECTIVE ORDER- 12
    Case 3:18-cv-00721-BR      Document 42       Filed 09/19/18     Page 13 of 17




                                      ORDER

     The Stipulated Protective Order is APPROVED.

     IT IS SO ORDERED.


    DATED this 19th day of September, 2018.




                                       ANNA J. BROWN
                                       United States Senior District Judge




STIPULATED PROTECTIVE ORDER- 13
      Case 3:18-cv-00721-BR          Document 42     Filed 09/19/18     Page 14 of 17




RESPECTFULLY SUBMITTED this 18th day of September, 2018, by,


STOKES LAWRENCE, P.S.                          STOEL RIVES LLP



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STIPULATED PROTECTIVE ORDER- 14
    Case 3:18-cv-00721-BR    Document 42      Filed 09/19/18   Page 15 of 17




                                  APPENDIX A

                             [Follows on next page]




STIPULATED PROTECTIVE ORDER- 15
     Case 3:18-cv-00721-BR           Document 42       Filed 09/19/18     Page 16 of 17




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION

QUEST SOFTWARE, INC., a Delaware                     Case No. 3:18-CV-00721-BR
corporation,
                                                     CONFIDENTIALITY UNDERTAKING
            Plaintiff I Counterclaim-Defendant,

                        v.

NIKE, INC., an Oregon corporation

                  Defendant I Counterclaimant.




       I,                                            , declare that:

       1.       My address is _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       2.       My present employer is _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       3.       My present occupation or job description i s - - - - - - - - - - - - - -




       4.       I have carefully read and received a copy of the Protective Order entered in this

action on - - - - - - - -

       5.       I hereby agree to be bound by and comply with the terms of the Protective Order,

and not to disseminate or disclose any information contained in the Protective Order that I either

review or about which I am told, to any person, entity, party, or agency for any reason, except in

accordance with the terms of the Protective Order.

       6.       I will return all confidential material that comes into my possession, and

documents or things that I have prepared relating thereto, to counsel for the party by whom I am

employed or retained.

       7.       I further agree to submit to the jurisdiction of this Court for the purposes of

enforcement of the terms of this Protective Order.



STIPULATED PROTECTIVE ORDER- 16
      Case 3:18-cv-00721-BR         Document 42       Filed 09/19/18     Page 17 of 17




       I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct.

       EXECUTED this _ _ _ _ day of _ _ _ _ _ _ _, 201_.




                                            (Signature)


                                            (Name)




STIPULATED PROTECTIVE ORDER- 17
